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                         IN THE UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF ARKANSAS
                                 TEXARKANA DIVISION

UNITED STATES OF AMERICA                                                                PLAINTIFF

v.                                     No. 4:11-CR-40037-044

CHANNING PENNINGTON                                                                  DEFENDANT

                                    ORDER OF DETENTION

       The record reflects that on August 1, 2016, the Defendant appeared for an initial appearance

on a Petition for Action on alleged violations of Supervised Release. ECF No. 1735. The Petition

alleged new criminal law violations, failure to report to the United States Probation Office (USPO)

as directed, failure to be truthful to the USPO, failure to maintain employment, and failure to keep

the USPO apprised of any change of address. Defendant was appointed counsel and waived a

detention hearing. ECF No. 1741. Thereafter, Defendant requested a detention hearing and one was

scheduled for September 12, 2016. As discussed below, I find the Defendant should be

DETAINED pending a final revocation hearing.

       A. Standard for Release

       In any case involving a petition to revoke supervised release the court is governed by F.R.Cr.

P. 32.1. Rule 32.1(a)(6) states:

               Release or Detention. The magistrate judge may release or detain the person
       under 18 U.S.C. § 3143(a)(1) pending further proceedings. The burden of
       establishing by clear and convincing that the person will not flee or pose a danger to
       any other person or to the community rests with the person [the defendant].

The court must consider the factors set out in 18 U.S.C. § 3142 when making a detention decision

under Rule 32.1. Unlike a pretrial proceeding, in a revocation proceeding, the defendant has the



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burden of establishing by clear and convincing evidence he is neither a risk of flight or a danger to

others or the community.

        B. Detention Hearing

        The Government called United States Probation Officer Christie Constant. Ms. Constant

testified regarding Defendant’s failure to comply with all of the terms and conditions of his

supervised release. Specifically, she testified regarding pending state criminal charges, in both

Arkansas and Texas, wherein the Defendant is alleged to have possessed with intent to distribute

controlled substances. She also testified regarding a recent allegation of domestic violence. The

charge of domestic violence was ultimately dismissed by state authorities after the complaining

witness recanted her statement.1

        The Government also relied on the USPO recommendation of no release pending a final

hearing.

        The Defendant called no witnesses. Defense counsel proffered, the following facts:

        1. Defendant was eligible to reapply for employment at Buffalo Wild Wings.

        2. Defendant had in fact worked for Tyson’s Inc. for a period of time.

        3. One of the pending state charges for possession of a controlled substance could be charged

as a misdemeanor rather than a felony.

        The undersigned reviewed the evidence and information submitted by the parties, the

Indictment, the information and recommendation of the USPO, and the argument of counsel.



        1
         The government also called Ms. Tiaera Adams. Ms. Adams is the girlfriend of the Defendant
and lives with him. After some testimony Ms. Adams invoked her 5th Amendment privilege against self
incrimination and refused to answer further questions. I dismissed her from the witness stand, struck her
testimony and have not considered that testimony here.

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Pursuant to Rule 32.1(a)(6), the Court finds as follows:

        B. Findings of Fact pursuant to 18 U.S.C. § 3142(g)

        1. Nature and circumstances of the offense charged: The Defendant is alleged to have

committed new criminal law violations. Particularly, controlled substance crimes and crimes of

violence. This factor weighs in favor of detention.

        2. Weight of the evidence against the person charged: The probation officer testified

regarding the allegations. At this point it appears the Defendant in fact violated the terms of his

Supervised Release. This factor weighs in favor of detention.

        3. History and characteristics of the person charged: While he lives in the community,

he has a history of failure to appear and failure to follow court orders. He also has a history in this

case of failure to comply with the directions of the USPO. This factor weighs in favor of detention.

        4. Nature and seriousness of the danger to any other person: Defendant is alleged to have

committed a new and specific controlled substance crime. There was an allegation made he

physically assaulted his girlfriend (although she later recanted). He has failed to comply with

conditions of Supervised Release and I have no confidence he would comply going forward. This

factor weighs in favor of detention.

        C. Conclusions2

        1. Defendant has failed to establish by clear and convincing evidence he would not be a

danger to others or to the community.

        2. . Defendant has failed to establish by clear and convincing evidence that he is not a flight



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         I also incorporate by reference the findings announced from the bench at the conclusion of the
hearing on September 12, 2016.

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risk.

        Accordingly, the Defendant is remanded to the United States Marshal Service pending final

revocation hearing.3

        SO ORDERED this 13th day of September 2016.



                                                      /s/ Barry A. Bryant
                                                      HONORABLE BARRY A. BRYANT
                                                      UNITED STATES MAGISTRATE JUDGE




        3
       Defendant was remanded to the Marshal’s custody at the conclusion of the hearing on
September 12, 2016.

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